                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                     AT KNOXVILLE

 PROGRESSIVE HAWAII INS. CORP.,                      )
                                                     )
               Plaintiff,                            )
                                                     )      No. 3:12-CV-574
 v.                                                  )      (VARLAN/GUYTON)
                                                     )
 NAKIA DAVIS, et al.,                                )
                                                     )
               Defendants.                           )


                               MEMORANDUM AND ORDER

        This case is before the undersigned pursuant to 28 U.S.C. § 636, the Rules of this Court,

 and Standing Order 13-02. Now before the Court is Plaintiff’s Motion for Substitution of Party

 [Doc. 34], in which the Plaintiff moves the Court to enter an order substituting Gerald Gulley,

 Administrator Ad Litem for the Estate of Xavier C. Bingham for Xavier C. Bingham.

        The parties appeared before the undersigned on August 16, 2013, to address the Motion

 for Substitution of Party and other pretrial motions. Counsel for Defendants Ryan Westbrook,

 the Estate of Justin Walker, James A. Russell, Angelic Hodge, GEICO Insurance, and Allstate

 Insurance Company represented that they do not object to the Motion for Substitution of Party.

 Attorney Gerald Gulley also appeared and represented to the Court that he had no objection to

 being substituted as a party. He confirmed that he has been appointed as an administer ad litem

 for the Estate of Xavier C. Bingham by the Chancery Court for Knox County, Tennessee.

        Based upon the foregoing, the Court finds that the Motion for Substitution of Party is

 well-taken, and it is GRANTED. Attorney Gerald Gulley, Administrator Ad Litem [Doc. 34]

 for the Estate of Xavier C. Bingham for Xavier C. Bingham, is SUBSTITUTED as a party in




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 this action in place of Xavier Bingham. The Clerk of Court shall modify the docket to reflect

 this change, and Mr. Gulley shall insure that the Clerk of Court has his contact information so

 that he can receive notices through CM/ECF.

        IT IS SO ORDERED.

                                            ENTER:

                                                  s/ H. Bruce Guyton
                                            United States Magistrate Judge




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